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                                                                             2024 Mar-11 PM 12:31
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                          NORTHEASTERN DIVISION
_________________________________
                                       )
NATIONAL SMALL BUSINESS                )
UNITED d/b/a the NATIONAL SMALL )
BUSINESS ASSOCIATION, et al.,          )
                                       )
                          Plaintiffs,  ) Civil Action No. 5:22-CV-1448-LCB
                                       )
                    v.                 )
                                       )
JANET YELLEN, in her official          )
capacity as Secretary of the Treasury, )
et al.,                                )
                                       )
                          Defendants.  )
_________________________________ )


                             NOTICE OF APPEAL

      On March 1, 2024, the Court found that Plaintiffs are entitled to summary

judgment as a matter of law. See ECF No. 51 (Memorandum Opinion); ECF No. 52

(Final Judgment). Defendants hereby appeal the Court’s Final Judgment to the

United States Court of Appeals for the Eleventh Circuit.

DATED: March 11, 2024                 Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      DIANE KELLEHER
                                      Assistant Branch Director
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                            /s/ Stuart J. Robinson
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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 11, 2024, I served the foregoing notice on all
counsel of record by filing it with the Court by means of its ECF system.

                                                /s/Stuart J. Robinson
                                                Stuart J. Robinson




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